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 1
     Lionel Z. Glancy (#134180)
     Michael Goldberg (#188669)
 2   Robert V. Prongay (#270796)
 3   GLANCY BINKOW & GOLDBERG LLP
     1925 Century Park East, suite 2100
 4   Los Angeles, CA 90067
 5   Telephone: (310) 201-9150
     Facsimile: (310) 201-9160
 6
     Email: info@glancylaw.com
 7
     Counsel for Plaintiff Edward Todd
 8
     [Additional Counsel on Signature page]
 9
10                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
11
12   EDWARD TODD, Individually and on            Case No.:
     Behalf of All Others Similarly Situated,
13
14                                  Plaintiff,   CLASS ACTION COMPLAINT
15
          vs.
16                                               JURY TRIAL DEMANDED
17
     STAAR SURGICAL COMPANY,
     BARRY G. CALDWELL, DEBORAH
18   ANDREWS, and STEPHEN P.
19   BROWN,
20                               Defendants.
21
22
23
24
25
26
27
28                                CLASS ACTION COMPLAINT
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 1
           Plaintiff Edward Todd (“Plaintiff”) brings this securities class action pursuant to

 2   Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”)
 3
     and Rule 10b-5 promulgated thereunder on behalf of all investors who purchased or
 4
 5   otherwise acquired STAAR Surgical Company (“STAAR” or the “Company”) securities
 6
     between February 27, 2013 and June 30, 2014, inclusive (the “Class Period”). The
 7
     allegations herein are based upon Plaintiff’s knowledge as to itself and its own acts and
 8
 9   upon information and belief as to all other matters. Plaintiff’s information and belief is
10
     based on, inter alia, the investigation conducted by and through Plaintiff’s attorneys,
11
12   which included, but was not limited to review of: (i) STAAR’s public filings with the
13   United States Securities and Exchange Commission (“SEC”); (ii) research reports and
14
     advisories by securities and financial analysis; (iii) publicly available presentations,
15
16   reports, and press releases issued by STAAR; (iv) press releases and media reports; (v)
17
     publicly available presentations and reports about STAAR; and (vi) other publicly
18
19   available information. Plaintiff believes that substantial evidentiary support will exist for
20   the allegations set forth herein after a reasonable opportunity for discovery.
21
                                   NATURE OF THE ACTION
22
23         1.     STAAR designs, develops, manufactures and sells implantable lenses for
24
     the eye and delivery systems used to deliver lenses into the eye. The Company purports
25
26   to be the leading maker of lenses used worldwide in corrective or “refractive” surgery,

27   and also makes lenses for use in surgery that treats cataracts.          All of the lenses
28
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 1
     manufactured by STAAR are foldable, which permits the surgeon to insert them through

 2   a small incision during minimally invasive surgery.
 3
           2.     This action arises from STAAR’s nondisclosure and concealment of the
 4
 5   significant regulatory violations at STAAR’s Monrovia, California manufacturing
 6
     facility (the “Monrovia Facility”). In 2011, the Company developed and initiated a
 7
     project to consolidate STAAR’s global manufacturing into a single site at the Monrovia
 8
 9   Facility. However, throughout the Class Period, STAAR – along with defendants Barry
10
     G. Caldwell (“Caldwell”), Deborah Andrews (“Andrews”), and Stephen P. Brown
11
12   (“Brown”) (collectively, with STAAR “Defendants”) – made false and/or misleading
13   statements and/or failed to disclose that the Company’s Monrovia Facility: (i) lacked
14
     adequate methodologies and facilities for the manufacture, packing, storage and
15
16   installation of the Company’s implantable lenses; (ii) lacked adequate procedures for
17
     documenting complaints, sterility testing, and maintaining required records; and (iii) as a
18
19   result of the foregoing, the Monrovia Facility was not in conformity with current good
20   manufacturing practice requirements at all relevant times.
21
           3.     On June 30, 2014, the U.S. Food and Drug Administration (“FDA”)
22
23   publicly released a Warning Letter, dated May 21, 2014, concerning an inspection of
24
     STAAR’s Monrovia Facility which took place from February 10, 2014 to March 21,
25
26   2014. The FDA letter noted several regulatory violations at the facility and stated that,

27   among other things, “the methods used in, or the facilities or controls used for”
28
     manufacture, packing, storage or installation of the Company’s implantable lenses are
                                           2
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 1
     “not in conformity with the current good manufacturing practice requirements.” The

 2   FDA further advised STAAR that “failure to promptly correct these violations may
 3
     result in regulatory action being initiated by the FDA without further notice.”
 4
 5         4.     On this news, STAAR shares declined $1.89 or nearly 11.25%, to close at
 6
     $14.91 on July 1, 2014.
 7
           5.     As a result of Defendants’ wrongful acts and omissions, and the precipitous
 8
 9   decline in the market value of the Company’s securities, Plaintiff and other Class
10
     members have suffered significant damages.
11
12                               JURISDICTION AND VENUE
13         6.     The claims asserted herein arise under and pursuant to Sections 10(b) and
14
     20(a) of the Exchange Act, (15 U.S.C. §78j (b) and 78t (a)), and Rule 10b-5 promulgated
15
16   thereunder (17 C.F.R. §240.10b-5).
17
           7.     This Court has jurisdiction over the subject matter of this action pursuant to
18
19   §27 of the Exchange Act (15 U.S.C. §78aa) and 28 U.S.C. § 1331.
20         8.     Venue is proper in this Judicial District pursuant to §27 of the Exchange
21
     Act, 15 U.S.C. § 78aa and 28 U.S.C. § 1391(b).
22
23         9.     In connection with the acts, conduct and other wrongs alleged in this
24
     Complaint, Defendants, directly or indirectly, used the means and instrumentalities of
25
26   interstate commerce, including but not limited to, the United States mails, interstate

27   telephone communications and the facilities of the national securities exchange.
28

                                           3
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 1
                                                PARTIES

 2         10.     Plaintiff, as set forth in the accompanying certification, incorporated by
 3
     reference herein, purchased STAAR common stock at artificially inflated prices during
 4
 5   the Class Period and was damaged upon the revelation of the alleged corrective
 6
     disclosure.
 7
           11.     Defendant STAAR Surgical Company is a Delaware corporation that
 8
 9   purports to design, develop, manufacture and sell implantable lenses for the eye and
10
     delivery systems used to deliver lenses into the eye.        STAAR operates its global
11
12   administrative headquarters and the manufacturing facility in Monrovia, California. The
13   Monrovia Facility principally makes Collamer and silicone intraocular lenses (“IOL”),
14
     and injector systems for its IOLs. During the Class Period, the Company’s stock traded
15
16   on the NASDAQ Stock Market under the symbol “STAA.”
17
           12.     Defendant Barry G. Caldwell was, at all relevant times, the President, Chief
18
19   Executive Officer and a director of STAAR.
20         13.     Defendant Deborah Andrews served as the Company’s Chief Financial
21
     Officer until September 2013.
22
23         14.     Defendant Stephen P. Brown was appointed as the Chief Financial Officer
24
     of STAAR in September 2013.
25
26         15.     Defendants Caldwell, Andrews, and Brown are referred to herein,

27   collectively, as the “Individual Defendants.”
28

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 1
                                SUBSTANTIVE ALLEGATIONS

 2                                          Background
 3
           16.    STAAR designs, develops, manufactures and sells implantable lenses for
 4
 5   the eye and delivery systems used to deliver lenses into the eye. The Company purports
 6
     to be the leading maker of lenses used worldwide in corrective or “refractive” surgery,
 7
     and also manufactures lenses for use in surgery that treats cataracts. All of the lenses the
 8
 9   Company manufactures are foldable, which permits the surgeon to insert them through a
10
     small incision during minimally invasive surgery.
11
12         17.    STAAR operates its global administrative headquarters, primary research
13   facility, and chief manufacturing facility in Monrovia, California.         The Monrovia
14
     Facility principally makes Collamer and IOLs, and injector systems for its IOLs. The
15
16   Company also manufactures the Visian implantable Collamer lenses (“ICL”) and
17
     preloaded IOL injectors at the Monrovia Facility.
18
19         18.    STAAR currently manufactures its products in four facilities worldwide. In
20   2011, the Company developed and initiated a project to consolidate STAAR’s global
21
     manufacturing into a single site at the Monrovia Facility, known as “Project Comet.”
22
23   Throughout the consolidation process, the Company has transferred parts from its global
24
     operations into a 26,000 square foot facility contiguous to the existing Monrovia
25
26   Facility, which the Company leased in August 2012.

27
28

                                            5
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 1
           19.    In June 2013, the Company expanded the Monrovia Facility, substantially

 2   completing STAAR’s development of preloaded ICL product, while purportedly
 3
     obtaining additional regulatory approvals for its products.
 4
 5         20.    Also in 2013, STAAR completed transferring IOL manufacturing from
 6
     Japan to the Monrovia Facility.
 7
           21.    The Company expects to complete Project Comet by the middle of 2014.
 8
 9                             Materially False and Misleading
10                        Statements Issued During the Class Period

11         22.    On February 27, 2013, STAAR issued a press release announcing the
12
     financial and operating results for the fourth quarter and year ended December 28, 2012.
13
14   The Company reported revenue for the fourth quarter of $16.5 million compared to

15   $16.4 million reported for the fourth quarter of 2011.
16
           23.    The press release also updated the key developments in Project Comet,
17
18   specifically noting that the Company had (i) successfully initiated manufacturing at the
19
     Monrovia Facility and shipped the first U.S. manufactured Visian ICL to customers on
20
21
     January 24, 2013; (ii) obtained regulatory approval for U.S. manufactured ICLs in

22   Europe, Japan, Korea and China, representing approximately 70% of ICL unit volume;
23
     (iii) completed requirements and transferred to the Monrovia Facility cartridge
24
25   manufacturing and final inspection, assembly, and pouching for Preloaded Silicone
26
     IOLs; and (iv) received commitments from several key employees from Japan and
27
     Switzerland to relocate either temporarily or permanently to the U.S.
28

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 1
           24.    On March 12, 2013, the Company filed an annual report with the SEC on

 2   Form 10-K for the fourth quarter and year ended December 28, 2012 (the “2012 Form
 3
     10-K”), which was signed by, among others, defendants Caldwell and Andrews, and
 4
 5   reiterated the Company’s previously reported financial and operational results and
 6
     position. In addition, the 2012 Form 10-K also contained certifications pursuant to
 7
     Sarbanes-Oxley Act of 2002 (“SOX”) signed by defendants Caldwell and Andrews,
 8
 9   stating that the financial information contained in the Form 10-K was accurate and
10
     disclosed any material changes to the Company’s internal control over financial
11
12   reporting.
13         25.    Moreover, the 2012 Form 10-K specifically noted that the Company
14
     “believes that it is substantially in compliance with the FDA’s Quality System
15
16   Regulations and Medical Device Reporting regulations.”
17
           26.    On May 1, 2013, the Company issued a press release announcing financial
18
19   and operational results for the first quarter of 2013, reporting record revenue of $18.0
20   million compared to $15.5 million reported for the first quarter of 2012. The press
21
     release also provided an update on the status of Project Comet, representing in relevant
22
23   part: (i) the project continues to progress on plan; (ii) the Company shipped the first
24
     U.S. manufactured ICLs during the first quarter of 2013; (iii) some Visian ICLs are now
25
26   being supplied by product manufactured in Monrovia to approved markets outside the

27   U.S; (iv) all non-sterile preloaded silicone IOLs for Japan are shipping out of the U.S;
28

                                          7
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 1
     and (v) key regulatory approval has been received to relocate the irradiator used to

 2   manufacture Collamer buttons from Aliso Viejo, California to the Monrovia Facility.
 3
           27.   On May 3, 2013, the Company filed a quarterly report for the first quarter
 4
 5   of 2013 on Form 10-Q with the SEC (“2013 1Q Form 10-Q”), which was signed by
 6
     defendant Andrews, and reiterated the Company’s previously reported financial and
 7
     operational results and position. In addition, the 2013 1Q Form 10-Q also contained
 8
 9   SOX certifications signed by defendants Caldwell and Andrews, stating that the financial
10
     information contained in the Form 10-Q was accurate and disclosed any material
11
12   changes to the Company’s internal control over financial reporting.
13         28.   The 2013 1Q Form 10-Q also noted that the Company “expects to yield
14
     significant savings in cost of goods, lower our global administrative and regulatory costs
15
16   and reduce income taxes” as a result of the implementation of Project Comet.
17
           29.   On July 31, 2013, the Company issued a press release announcing financial
18
19   and operational results for the second quarter of 2013, reporting revenue of $18.2
20   million, which represented 14% growth compared to $15.9 million reported for the
21
     second quarter of 2012. The press release also updated the status of Project Comet,
22
23   representing in relevant part: (i) the project “continued to be basically on plan through
24
     the first half of the year,”    though the Company decided to extend the project’s
25
26   completion date until the first half of 2014; (ii) validations were successfully completed

27   for the Visian Toric ICLs as expected and the Company plans to ship the first TICLs
28
     from Monrovia during the third quarter; (iii) sterile IOLs began shipping from Monrovia
                                           8
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 1
       to Japan during the quarter; and (iv) the Company exited the quarter with all IOLs

 2     globally being manufactured in Monrovia.
 3
             30.    Moreover, defendant Caldwell specifically commented on Project Comet in
 4
 5     the press release, noting that the “manufacturing consolidation project remained
 6
       basically on schedule as all IOLs and 21% of myopic ICLs through final inspection were
 7
       manufactured in Monrovia during June. Throughout this three year process, supply and
 8
 9     product quality have remained our priority.”
10
             31.    On August 6, 2013, the Company filed a quarterly report for the second
11
12     quarter of 2013 on Form 10-Q with the SEC (“2013 2Q Form 10-Q”), which was signed
13     by defendant Andrews, and reiterated the Company’s previously reported financial and
14
       operational results.   In addition, the 2013 2Q Form 10-Q also contained SOX
15
16     certifications signed by defendants Caldwell and Andrews, stating that the financial
17
       information contained in the Form 10-Q was accurate and disclosed any material
18
19     changes to the Company’s internal control over financial reporting.
20           32.    The 2013 2Q Form 10-Q also noted that STAAR “continues its
21
       manufacturing consolidation efforts in the second quarter of 2013”, which the Company
22
23     “expects to yield significant savings in cost of goods, lower our global administrative
24
       and regulatory costs and reduce income taxes.”
25
26           33.    On October 30, 2013, the Company issued a press release announcing

27     financial and operational results for the third quarter of 2013, reporting revenue of $17.1
28

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 1
       million, which represented 8% growth compared to $15.9 million reported for the third

 2     quarter of 2012. With regard to Project Comet, the Company stated, in relevant part:
 3
             During the quarter the Company continued to make progress toward
 4           completing the manufacturing consolidation project by mid-2014. At the
 5           end of the second quarter the Company had approximately 7,500 ICLs in
             finished goods inventory. At the end of the third quarter the Company has
 6
             approximately 11,400 ICLs in inventory held in both Europe and the
 7           U.S. This represents a 50% increase of ICLs in finished goods inventory
             during the quarter while shipping 15% more units from stock compared to
 8
             the third quarter of 2012. This inventory build is consistent with
 9           management's plan to assure adequate supply and quality of product
10           throughout this consolidation project.

11           34.    On November 1, 2013, the Company filed a quarterly report for the third
12
       quarter of 2013 on Form 10-Q with the SEC (“2013 3Q Form 10-Q”), which was signed
13
14     by defendant Brown, and reiterated the Company’s previously reported financial results.
15
       In addition, the 2013 3Q Form 10-Q also contained SOX certifications signed by
16
17
       defendants Caldwell and Brown, stating that the financial information contained in the

18     Form 10-Q was accurate and disclosed any material changes to the Company’s internal
19
       control over financial reporting.
20
21           35.    The 2013 3Q Form 10-Q also noted that STAAR “continues its
22
       manufacturing consolidation efforts in the third quarter of 2013”, which the Company
23
       “expects to yield significant savings in cost of goods, lower our global administrative
24
25     and regulatory costs and reduce income taxes.”
26
             36.    On February 26, 2014, the Company issued a press release announcing
27
28     financial and operational results for the fourth quarter and full year 2013, reporting

                                            10
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 1
       revenue of $18.9 million for the quarter, a 15% increase over $16.5 million reported for

 2     the fourth quarter of 2012. With regard to Project Comet, the Company stated, in
 3
       relevant part:
 4
 5           During the quarter, the Company continued to make progress toward
             completing the manufacturing consolidation project by mid-2014. At the
 6
             end of the fourth quarter the Company had approximately 17,100 ICLs in
 7           finished goods inventory, compared to approximately 11,400 ICLs in
             inventory held in both Europe and the U.S. at the end of the third
 8
             quarter. This represents a 50% increase of ICLs in finished goods inventory
 9           during the quarter while shipping 29% more units from stock compared to
10           the fourth quarter of 2012. This inventory build is consistent with
             management’s plan to assure adequate supply and quality of product
11           throughout this consolidation project. Manufacturing yields of the ICL in
12           the U.S. continue to increase. The Company will officially close its
             manufacturing capabilities in Switzerland in June 2014, and expects to add
13           headcount in U.S. as it transfers manufacturing from Switzerland.
14
             37.    On March 12, 2014, the Company filed an annual report with the SEC on
15
16     Form 10-K for the fourth quarter and year ended December 28, 2013 (the “2013 Form
17
       10-K”), which was signed by, among others, defendants Caldwell and Brown, and
18
19     reiterated the Company’s previously reported financial and operational results.      In
20     addition, the 2013 Form 10-K also contained SOX certifications signed by defendants
21
       Caldwell and Brown, stating that the financial information contained in the Form 10-K
22
23     was accurate and disclosed any material changes to the Company’s internal control over
24
       financial reporting.
25
26           38.    Moreover, the 2013 Form 10-K specifically noted that the Company

27     “believes that it is substantially in compliance with the FDA’s Quality System
28
       Regulations and Medical Device Reporting regulations.”
                                           11
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 1
             39.    On April 28, 2014, the Company issued a press release announcing

 2     financial and operational results for the first quarter of 2014, reporting revenue of $20.2
 3
       million, a 12% increase over $18.0 million reported for the first quarter of 2013. The
 4
 5     press release also stated STAAR “continued to make progress toward completing the
 6
       manufacturing consolidation project by mid-2014”, representing in relevant part that: (i)
 7
       the quarter’s inventory buildup was consistent with management's plan to assure
 8
 9     adequate supply and quality of product throughout the consolidation project process and
10
       to prepare for the potential U.S. launch for the TICL; (ii) manufacturing yields of the
11
12     ICL and TICL in the U.S. continued to improve during the quarter; and (iii) the
13     Company will officially close its manufacturing capabilities in Switzerland in June 2014.
14
             40.    On May 13, 2014, the Company filed a quarterly report for the first quarter
15
16     of 2014 on Form 10-Q with the SEC (“2014 1Q Form 10-Q”), which was signed by
17
       defendant Brown, and reiterated the Company’s previously reported financial and
18
19     operational results.   In addition, the 2014 1Q Form 10-Q also contained SOX
20     certifications signed by defendants Caldwell and Brown, stating that the financial
21
       information contained in the Form 10-Q was accurate and disclosed any material
22
23     changes to the Company’s internal control over financial reporting.
24
             41.    The 2014 1Q Form 10-Q also noted that the “consolidation efforts are
25
26     proceeding according to plans and we expect this to continue through completion in the

27     middle of 2014.”
28

                                             12
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 1
             42.    The statements referenced above in paragraphs 22–41 were materially false

 2     and/or misleading because they misrepresented and failed to disclose that the Company’s
 3
       Monrovia Facility: (i) lacked adequate methodologies and facilities for the manufacture,
 4
 5     packing, storage and installation of the Company’s implantable lenses; (ii) lacked
 6
       adequate procedures for documenting complaints, sterility testing, and maintaining
 7
       required records; and (iii) as a result of the foregoing, the Monrovia Facility was not in
 8
 9     conformity with current good manufacturing practice requirements at all relevant times.
10
                                     The Truth Begins to Emerge
11
12           43.    On June 30, 2014, the FDA publicly released a Warning Letter, dated May
13     21, 2014, concerning an inspection of STAAR’s Monrovia Facility that took place from
14
       February 10, 2014 to March 21, 2014.           The FDA letter noted several regulatory
15
16     violations at the Monrovia Facility, resulting in “adultered” lenses.
17
             44.    Specifically, the FDA Warning Letter stated that the Monrovia Facility
18
19     lacks adequate “methods used in, or the facilities or controls used for” manufacture,
20     packing, storage or installation of the Company’s implantable lenses, such as the Visian
21
       ICL and Collamer IOL.
22
23           45.    Moreover, the Warning letter noted the Monrovia Facility had failed to
24
       (i) establish procedures for receiving, reviewing, and evaluating complaints by a
25
26     formally designated unit, in violation of FDA regulations; and (ii) establish and maintain

27     a “Design History File” for each type of device to demonstrate that the design was
28
       developed in accordance with the approved design plan, as required by the FDA.
                                             13
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 1
              46.   As a result of the foregoing, the Warning Letter concluded that the

 2     Monrovia Facility was “not in conformity with [] current good manufacturing practice
 3
       requirements” . The FDA further advised STAAR that “failure to promptly correct these
 4
 5     violations may result in regulatory action being initiated by the FDA without further
 6
       notice.”
 7
              47.   These adverse facts caused the value of STAAR shares to decline $1.89 or
 8
 9     nearly 11.25%, to close at $14.91 on July 1, 2014.
10
                            PLAINTIFF’S CLASS ACTION ALLEGATIONS
11
12            48.   Plaintiff brings this action as a class action pursuant to Federal Rule of Civil
13     Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or
14
       otherwise acquired STAAR securities during the Class Period (the “Class”); and were
15
16     damaged upon the revelation of the alleged corrective disclosures. Excluded from the
17
       Class are Defendants herein, the officers and directors of the Company, at all relevant
18
19     times, members of their immediate families and their legal representatives, heirs,
20     successors or assigns and any entity in which Defendants have or had a controlling
21
       interest.
22
23            49.   The members of the Class are so numerous that joinder of all members is
24
       impracticable. Throughout the Class Period, STAAR securities were actively traded on
25
26     the NASDAQ. While the exact number of Class members is unknown to Plaintiff at this

27     time and can be ascertained only through appropriate discovery, Plaintiff believes that
28
       there are hundreds or thousands of members in the proposed Class. Record owners and
                                             14
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 1
       other members of the Class may be identified from records maintained by STAAR or its

 2     transfer agent and may be notified of the pendency of this action by mail, using the form
 3
       of notice similar to that customarily used in securities class actions.
 4
 5           50.      Plaintiff’s claims are typical of the claims of the members of the Class as all
 6
       members of the Class are similarly affected by Defendants’ wrongful conduct in
 7
       violation of federal law that is complained of herein.
 8
 9           51.      Plaintiff will fairly and adequately protect the interests of the members of
10
       the Class and has retained counsel competent and experienced in class and securities
11
12     litigation. Plaintiff has no interests antagonistic to or in conflict with those of the Class.
13           52.      Common questions of law and fact exist as to all members of the Class and
14
       predominate over any questions solely affecting individual members of the Class.
15
16     Among the questions of law and fact common to the Class are:
17
                    whether the federal securities laws were violated by Defendants’ acts
18                   as alleged herein;
19
                    whether statements made by Defendants to the investing public during
20
                     the Class Period misrepresented material facts about the business,
21                   operations and management of STAAR;
22
                    whether the Individual Defendants caused STAAR to issue false and
23                   misleading financial statements during the Class Period;
24
                    whether Defendants acted knowingly or recklessly in issuing false and
25                   misleading financial statements;
26
                    whether the prices of STAAR securities during the Class Period were
27
                     artificially inflated because of the Defendants’ conduct complained of
28                   herein;

                                               15
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 1
                      and,
 2
 3                  whether the members of the Class have sustained damages and, if so,
                     what is the proper measure of damages.
 4
 5           53.      A class action is superior to all other available methods for the fair and
 6
       efficient adjudication of this controversy since joinder of all members is impracticable.
 7
 8
       Furthermore, as the damages suffered by individual Class members may be relatively

 9     small, the expense and burden of individual litigation make it impossible for members of
10
       the Class to individually redress the wrongs done to them. There will be no difficulty in
11
12     the management of this action as a class action.
13
             54.      Plaintiff will rely, in part, upon the presumption of reliance established by
14
       the fraud-on-the-market doctrine in that:
15
16                  Defendants made public misrepresentations or failed to disclose
17                   material facts during the Class Period;
18                  the omissions and misrepresentations were material;
19
                    STAAR securities are traded in efficient markets;
20
21                  the Company’s shares were liquid and traded with moderate to heavy
22                   volume during the Class Period;
23                  the Company traded on the NASDAQ, and was covered by multiple
24                   analysts;
25
                    the misrepresentations and omissions alleged would tend to induce a
26                   reasonable investor to misjudge the value of the Company’s
27                   securities; and

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 1                   Plaintiff and members of the Class purchased and/or sold STAAR
                      securities between the time the Defendants failed to disclose or
 2                    misrepresented material facts and the time the true facts were
 3                    disclosed, without knowledge of the omitted or misrepresented facts.
 4            55.      Based upon the foregoing, Plaintiff and the members of the Class are
 5
       entitled to a presumption of reliance upon the integrity of the market.
 6
 7            56.      Alternatively, Plaintiffs and the members of the Class are entitled to the
 8
       presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of
 9
10     the State of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants
11     omitted material information in their Class Period statements in violation of a duty to
12
       disclose such information, as detailed above.
13
14                                            FIRST CLAIM
15
                                      Violation of Section 10(b) of
16                                  The Exchange Act and Rule 10b-5
17                                       Against All Defendants

18            57.      Plaintiff repeats and realleges each and every allegation contained above as
19
       if fully set forth herein.
20
21            58.      During the Class Period, Defendants carried out a plan, scheme and course
22
       of conduct which was intended to and, throughout the Class Period, did: (1) deceive the
23
24
       investing public, including Plaintiff and other Class members, as alleged herein; and (2)

25     cause Plaintiff and other members of the Class to purchase STAAR securities at
26
       artificially inflated prices. In furtherance of this unlawful scheme, plan and course of
27
28     conduct, each of the Defendants took the actions set forth herein.

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             59.    Defendants: (a) employed devices, schemes, and artifices to defraud; (b)

 2     made untrue statements of material fact and/or omitted to state material facts necessary
 3
       to make the statements not misleading; and (c) engaged in acts, practices, and a course of
 4
 5     business that operated as a fraud and deceit upon the purchasers of the Company’s
 6
       securities in an effort to maintain artificially high market prices for STAAR securities in
 7
       violation of Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.
 8
 9     All Defendants are sued either as primary participants in the wrongful and illegal
10
       conduct charged herein or as controlling persons as alleged below.
11
12           60.    Defendants, individually and in concert, directly and indirectly, by the use,
13     means or instrumentalities of interstate commerce and/or of the mails, engaged and
14
       participated in a continuous course of conduct to conceal adverse material information
15
16     about the business, operations and future prospects of STAAR as specified herein.
17
             61.    These Defendants employed devices, schemes, and artifices to defraud
18
19     while in possession of material adverse non-public information, and engaged in acts,
20     practices, and a course of conduct as alleged herein in an effort to assure investors of
21
       STAAR’s value and performance and continued substantial growth, which included the
22
23     making of, or participation in the making of, untrue statements of material facts and
24
       omitting to state material facts necessary in order to make the statements made about
25
26     STAAR and its business operations and future prospects in the light of the circumstances

27     under which they were made, not misleading, as set forth more particularly herein, and
28

                                             18
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 1
       engaged in transactions, practices and a course of business that operated as a fraud and

 2     deceit upon the purchasers of STAAR securities during the Class Period.
 3
             62.    Caldwell’s, Andrews’, and Brown’s primary liability, and controlling
 4
 5     person liability, arises from the following facts: (1) Caldwell, Andrews, and Brown were
 6
       high-level executives, directors, and/or agents at the Company during the Class Period
 7
       and members of the Company’s management team or had control thereof; (2) Caldwell,
 8
 9     Andrews, and Brown, by virtue of their responsibilities and activities as senior officers
10
       and/or directors of the Company, were privy to and participated in the creation,
11
12     development and reporting of the Company’s financial condition; (3) Caldwell,
13     Andrews, and Brown enjoyed significant personal contact and familiarity with the other
14
       Defendants and were advised of and had access to other members of the Company’s
15
16     management team, internal reports and other data and information about the Company’s
17
       finances, operations, and sales at all relevant times; and (4) Caldwell, Andrews, and
18
19     Brown were aware of the Company’s dissemination of information to the investing
20     public which they knew or recklessly disregarded was materially false and misleading.
21
             63.    Defendants had actual knowledge of the misrepresentations and omissions
22
23     of material facts set forth herein, or acted with reckless disregard for the truth in that they
24
       failed to ascertain and to disclose such facts, even though such facts were available to
25
26     them. Such Defendants’ material misrepresentations and/or omissions were done

27     knowingly or recklessly and for the purpose and effect of concealing STAAR’s true
28
       operating condition at the Monrovia Facility and future business prospects from the
                                              19
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 1
       investing public and supporting the artificially inflated price of its securities. As

 2     demonstrated by Defendants’ misstatements and omissions regarding the Company’s
 3
       operational condition at the Monrovia Facility throughout the Class Period, Defendants,
 4
 5     if they did not have actual knowledge of the misrepresentations and omissions alleged,
 6
       were reckless in failing to obtain such knowledge by deliberately refraining from taking
 7
       those steps necessary to discover whether those statements were false or misleading.
 8
 9           64.    As a result of the dissemination of the materially false and misleading
10
       information and failure to disclose material facts, as set forth above, the market price of
11
12     STAAR securities was artificially inflated during the Class Period. In ignorance of the
13     fact that market prices of STAAR’s publicly-traded securities were artificially inflated,
14
       and relying directly or indirectly on the false and misleading statements made by
15
16     Defendants, or upon the integrity of the market in which the common stock trades,
17
       and/or on the absence of material adverse information that was known to or recklessly
18
19     disregarded by Defendants but not disclosed in public statements by Defendants during
20     the Class Period, Plaintiff and the other members of the Class acquired STAAR
21
       securities during the Class Period at artificially high prices and were or will be damaged
22
23     thereby.
24
             65.    At the time of said misrepresentations and omissions, Plaintiff and other
25
26     members of the Class were ignorant of their falsity, and believed them to be true. Had

27     Plaintiff and the other members of the Class and the marketplace known the truth
28
       regarding STAAR’s true operational condition, which was not disclosed by Defendants,
                                             20
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 1
       Plaintiff and other members of the Class would not have purchased or otherwise

 2     acquired their STAAR’s securities, or, if they had acquired such securities during the
 3
       Class Period, they would not have done so at the artificially inflated prices that they paid.
 4
 5            66.    By virtue of the foregoing, Defendants have violated Section 10(b) of the
 6
       Exchange Act, and Rule 10b-5 promulgated thereunder.
 7
              67.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff
 8
 9     and the other members of the Class suffered damages in connection with their respective
10
       purchases and sales of the Company’s securities during the Class Period.
11
12            68.    This action was filed within two years of discovery of the fraud and within
13     five years of each plaintiff’s purchases of securities giving rise to the cause of action.
14
                                           SECOND CLAIM
15
16                                 Violation of Section 20(a) of
17
                        The Exchange Act Against The Individual Defendants

18            69.    Plaintiff repeats and realleges each and every allegation contained above as
19
       if fully set forth herein.
20
21            70.    Caldwell, Andrews, and Brown acted as controlling persons of STAAR
22
       within the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of
23
       their high-level positions, agency, ownership and contractual rights, and participation in
24
25     and/or awareness of the Company’s operations and/or intimate knowledge of the false
26
       financial statements filed by the Company with the SEC and disseminated to the
27
28     investing public, Caldwell, Andrews, and Brown had the power to influence and control,

                                              21
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 1
       and did influence and control, directly or indirectly, the decision-making of the

 2     Company, including the content and dissemination of the various statements that
 3
       Plaintiff contends are false and misleading. Caldwell, Andrews, and Brown were
 4
 5     provided with or had unlimited access to copies of the Company’s reports, press releases,
 6
       public filings and other statements alleged by Plaintiff to have been misleading prior to
 7
       and/or shortly after these statements were issued and had the ability to prevent the
 8
 9     issuance of the statements or to cause the statements to be corrected.
10
             71.    In particular, Caldwell, Andrews, and Brown had direct and supervisory
11
12     involvement in the day-to-day operations of the Company and, therefore, are presumed
13     to have had the power to control or influence the particular transactions giving rise to the
14
       securities violations as alleged herein, and exercised the same.
15
16           72.    As set forth above, STAAR, Caldwell, Andrews, and Brown each violated
17
       Section 10(b), and Rule 10b-5 promulgated thereunder, by their acts and omissions as
18
19     alleged in this Complaint.
20           73.    By virtue of their positions as controlling persons, Caldwell, Andrews, and
21
       Brown are liable pursuant to Section 20(a) of the Exchange Act. As a direct and
22
23     proximate result of Defendants’ wrongful conduct, Plaintiff and other members of the
24
       Class suffered damages in connection with their purchases of the Company’s securities
25
26     during the Class Period.

27           74.    This action was filed within two years of discovery of the fraud and within
28
       five years of each Plaintiff’s purchases of securities giving rise to the cause of action.
                                              22
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 1
             WHEREFORE, Plaintiff prays for relief and judgment, as follows:

 2           a)     Determining that this action is a proper class action, designating Plaintiff as
 3
       Lead Plaintiff and certifying Plaintiff as a class representative under Rule 23 of the
 4
 5     Federal Rules of Civil Procedure and Plaintiff’s counsel as Lead Counsel;
 6
             b)     Awarding compensatory damages in favor of Plaintiff and the other Class
 7
       members against all Defendants, jointly and severally, for all damages sustained as a
 8
 9     result of Defendants’ wrongdoing, in an amount to be proven at trial, including interest
10
       thereon;
11
12           c)     Awarding Plaintiff and the Class their reasonable costs and expenses
13     incurred in this action, including counsel fees and expert fees; and
14
             d)     Such other and further relief as the Court may deem just and proper.
15
16                                   JURY TRIAL DEMANDED
17
             Plaintiff hereby demands a trial by jury.
18
19     Dated: July 8, 2014                    GLANCY BINKOW & GOLDBERG LLP
20                                            By: s/ Lionel Z. Glancy
                                              Lionel Z. Glancy
21                                            Michael Goldberg
22
                                              Robert V. Prongay
                                              1925 Century Park East, Suite 2100
23                                            Los Angeles, CA 90067
                                              Telephone: (310) 201-9150
24                                            Facsimile: (310) 201-9160
                                              Email: info@glancylaw.com
25
                                              POMERANTZ LLP
26                                            Jeremy A. Lieberman
                                              Francis P. McConville
27                                            600 Third Avenue, 20th Floor
                                              New York, New York 10016
28                                            Telephone: 212-661-1100
                                              Facsimile: 212-661-8665
                                             23
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 1                                       POMERANTZ LLP
                                         Patrick V. Dahlstrom
 2                                       10 South La Salle Street, Suite 3505
                                         Chicago, Illinois 60603
 3                                       Telephone: (312) 377-1181
                                         Facsimile: (312) 377-1184
 4                                       pdahlstrom@pomlaw.com
 5                                       Counsel for Plaintiff Edward Todd
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         STAAR Surgical Company (STAA)                     Todd, Edward

                           LIST OF PURCHASES AND SALES

                        PURCHASE         NUMBER OF       PRICE PER
             DATE        OR SALE          SHS/UTS          SH/UT

         4/23/2014          PUR                  200           $19.3220




                                                                             todd
